Label Matrix for local noticing Case 19-10110-reg
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                                                                                           AT&T1 Mobility
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0755-1                                      PO Box 61047                                    PO Box 6416
Case 19-10110-reg                           Harrisburg, PA 17106-1047                       Carol Stream, IL 60197-6416
Northern District of Indiana
Fort Wayne Division
Fri Mar 29 07:33:20 EDT 2019
Accelcare                                   Allen County Treasurer                          Allen County Treasurer
PO Box 92878                                1 East Main Street Suite 104                    1 East Main Street, Room 100
Dept 385                                    Fort Wayne IN 46802-1888                        Fort Wayne, IN 46802-1804
Rochester, NY 14692-8978


Allied Hospital Pathologist              Allied Imaging                                     (p)AMERICOLLECT INC
4245 Reliable Parkway                    P.O. Box 11556                                     PO BOX 2080
Chicago, IL 60686-0042                   Fort Wayne, IN 46859-1556                          MANITOWOC WI 54221-2080



Americollect                             Darren R. Barney                                   Sarah E. Barngrover
PO Box 1505                              11212 Knollton Run                                 Manley Deas Kochalski LLC
Manitowoc, WI 54221-1505                 Fort Wayne, IN 46818-8522                          P.O. Box 165028
                                                                                            Columbus, OH 43216-5028


Beckman Lawson, LLP                      Brian Heck                                         CBCS
201 West Wayne Street                    201 West Wayne St                                  P.O. Box 163333
Fort Wayne, IN 46802-3605                Fort Wayne, IN 46802-3605                          Columbus, OH 43216-3333



Capital One Auto Finance                 Capital One Auto Finance, a division of Capi       Collection Service Bureau
a division of Capital One, N.A. Dept     4515 N Santa Fe Ave. Dept. APS                     PO Box 310
AIS Portfolio Services, LP               Oklahoma City, OK 73118-7901                       Scottsdale, AZ 85252-0310
Account: XXXXXXXX0379
4515 N Santa Fe Ave, Dept. APS
Oklahoma City, OK 73118-7901
Collections Practice Group               Day Knight & Associates                            Dermatology & Laser Associates
201 West Wayne Street                    15559 Manchester Road                              10602 Corporate Drive
Fort Wayne, IN 46802-3605                Ballwin, MO 63011-3001                             Suite A
                                                                                            Fort Wayne, IN 46845-1711


Diversified Collection Services, Inc.    Doyle & Foutty PC                                  Dupont Hospital
P.O. Box 9057                            41 E. Washington Street                            15682 Collecions Center Drive
Pleasanton, CA 94566-9057                Suite 400                                          Chicago, IL 60693-0156
                                         Indianapolis, IN 46204-3517


Dupont Hospital                          Ear, Nose, Throat Associates                       Education Loan Servicing
C/O Bank of America Processing Center    10021 Dupont Circle                                1 CIT DR.
15682 Collections Center Drive           Fort Wayne, IN 46825-1604                          Livingston, NJ 07039-5703
Chicago, IL 60693-0001


Edward Hospital                          Emergency Medicine of IN, LLC                      FBCS
PO Box 4207                              P.O. Box 12617                                     330 S. Warminster Rd.
Carol Stream, IL 60197-4207              Fort Wayne, IN 46864-2617                          Suite 353
                                                                                            Hatboro, PA 19040-3433
FWRadiology                        Case 19-10110-reg
                                               Forefront Doc   10-3
                                                         Dermatology          Filed 03/29/19   Page
                                                                                                  Fort2 Wayne
                                                                                                         of 3 Neurology
4819 Solutions Center                             801 York Street                                  P.O. Box 11789
Chicago, IL 60677-4008                            Manitowoc, WI 54220-4630                         Fort Wayne, IN 46860-1789



Fort Wayne Radiology                              Nancy J. Gargula                                 Dennis G. Golden
Lockbox A20                                       100 East Wayne Street, 5th Floor                 822 Mill Lake Road
PO Box 2601                                       South Bend, IN 46601-2349                        Fort Wayne, IN 46845-6400
Fort Wayne, IN 46801-2601


Great Lakes Higher Education                      Hanger Orthopedic Group Inc                      Tracey L. Howell-Barney
P.O. Box 7860                                     Cares Lockbox                                    11212 Knollton Run
Madison, WI 53707-7860                            62556 Collections Center Drive                   Fort Wayne, IN 46818-8522
                                                  Chicago, IL 60693-0625


(p)INDIANA DEPARTMENT OF REVENUE                  Indiana Employment Security Division             Indiana Physical Therapy
ATTN BANKRUPTCY                                   10 North Senate Street                           4251 Lahmeyer Road
100 N SENATE AVE                                  Indianapolis, IN 46204-2201                      Fort Wayne, IN 46815-5676
INDIANAPOLIS IN 46204-2253


Inquest Health System                             Law office of David W. Edwards                   Lincare Inc.
P.O. Box 8857                                     1410 Industrial Park Rd., Ste 101                PO Box 105760
Fort Wayne, IN 46898-8857                         PO Box 910                                       Atlanta, GA 30348-5760
                                                  Paris, TN 38242-0910


MSCB, Inc.                                        MedExpress Billing                               Medical & Dental Business Bureau
P.O. Box 1567                                     ATTN #7964C                                      333 E Washington Blvd
Paris, TN 38242-1567                              PO Box 14000                                     PO Box 11285
                                                  Belfast, ME 04915-4033                           Fort Wayne, IN 46857-1285


Medical Recovery Specialist, LLC                  Merchants Credit Guide                           Napervile Radiologist S.C.
2250 E Devon Avenue                               223 West Jackson Blvd., Suite 900                6910 S Madison Street
Suite 352                                         Chicago, IL 60606-6912                           Willowbrook, IL 60527-5577
Des Plaines, IL 60018-4519


North Shore Agency-ND4                            Oak Glen Community Association, Inc              Orthepaedics Northeast, PC.
PO Box 9205                                       429 E. Dupont Rd.                                5050 North Clinton St.
Old Bethpage, NY 11804-9005                       PMB 163                                          Fort Wayne, IN 46825-5886
                                                  Fort Wayne, IN 46825-2051


Orthopaedics NorthEast, PC                        Parkview Health                                  Premiere Credit of North America, LLC
P.O. Box 11782                                    PO Box 10416                                     P.O. Box 19309
Fort Wayne, IN 46860-1782                         Des Moines, IA 50306-0416                        Indianapolis, IN 46219-0309



Professional Account Services, Inc.               Professional Emergency Physicians                Professional Recovery Inc.
P.O. Box 188                                      3640 New Vision Drive, Suite A                   7319 West Jefferson Blvd.
Brentwood, TN 37024-0188                          Fort Wayne, IN 46845-1717                        Fort Wayne, IN 46804-6237
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                                                                                                                   3       LLP
15897 Collection Center Drive                        444 East Main Street                                 203 East Berry Street, Suite 1100
Chicago, IL 60693-0001                               Fort Wayne, IN 46802-1911                            Fort Wayne, IN 46802-2715



Statewide Credit Association                         (p)STUCKY LAUER & YOUNG LLP                          Summit Radiology, PC
P.O. Box 20508                                       127 W BERRY ST STE 900                               Lockbox A29
Indianapolis, IN 46220-0508                          FORT WAYNE IN 46802-2300                             PO Box 2603
                                                                                                          Fort Wayne, IN 46801-2603


Suntrust American Education Services                 The Bank of New York Mellon                          Thomas Law Firm, P.C.
PO Box 61047                                         300 N Meridian St # 910                              11623 Coldwater Road, Suite 104
Harrisburg, PA 17106-1047                            Indianapolis, IN 46204-1753                          Fort Wayne, IN 46845-1282



Thomas Law Firm, P.C.                                Tice Associates                                      (p)TICE ASSOCIATES INC
P.O. Box 80483                                       1261 Kenmore Ave.                                    PO BOX 646
Fort Wayne, IN 46898-0483                            Buffalo, NY 14217-2856                               BUFFALO NY 14217-0646



Wells Fargo Dealer Services                          X-OUT
P.O. Box 17900                                       95 Old Shoals Road
Denver, CO 80217-0900                                Dept. C
                                                     Arden, NC 28704-9401




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americollect                                         Indiana Department of Revenue                        Stucky, Lauer & Young LLP
P.O. Box 1566                                        Bankruptcy Section - MS 108                          127 West Berry St
Manitowoc, WI 54221                                  100 North Senate Avenue, N240                        Suite 900
                                                     Indianapolis IN 46204                                Fort Wayne, IN 46802


Tice Associates Inc
1261 Kenmore Ave
Buffalo, NY 14217




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(u)The Bank of New York Mellon                       (u)Transworld Systems Inc.                           End of Label Matrix
                                                     500 Virginia Drive                                   Mailable recipients      73
                                                     Suite 514                                            Bypassed recipients       2
                                                     PA 19000                                             Total                    75
